Case 1:18-cv-11926-PBS Document 46-14 Filed 01/07/20 Page 1of3

Message

From: Pettingill, Todd [TPettingill@ligand.com]

Sent: 8/22/2014 4:28:38 PM

To: Dourado, Glenn S. [GDourado@ligand.com]; Vajda, Eric [EVajda@ligand.com]

Subject: RE: LGND: Ligand Pharmaceuticals: Institutional Holders Wasting No Time Dumping Stock In Response To Mounting

Insolvency And Bankruptcy Risks

Hahaha!!! What would happen if they had a baby?!?!?!
Regards,

Todd Pettingill, CFA CPA

Ligand Pharmaceuticals, Inc.

11119 North Torrey Pines Road Suite 200
La Jolla, CA 92037

Office: (858) 550-7763

Cell: (801) 360-3997

Fax: (858) 550-5639

From: Dourado, Glenn S.

Sent: Friday, August 22, 2014 1:26 PM

To: Pettingill, Todd; Vajda, Eric

Subject: RE: LGND: Ligand Pharmaceuticals: Institutional Holders Wasting No Time Dumping Stock In
Response To Mounting Insolvency And Bankruptcy Risks

I definitely agree...it’s just easier to fixate on an individual rather than market dynamics.
He’s like the anti-Jake Schiable! Jake took credit whenever the stock went up and he takes credit whenever it
goes down!

From: Pettingill, Todd

Sent: Friday, August 22, 2014 1:22 PM

To: Dourado, Glenn S.; Vajda, Eric

Subject: RE: LGND: Ligand Pharmaceuticals: Institutional Holders Wasting No Time Dumping Stock In
Response To Mounting Insolvency And Bankruptcy Risks

I dunno, correlation doesn’t always equal causality. I think he’s behind on everything and just trying to make it
look like he’s moving the stock. Sure it moves a little when he puts out these garbage reports, but for the most

part (with the exception of his first one), some moron’s listen and sell, but everyone else just ignores him. The

stock went up after he issued his last two.

There’s something else going one that he’s trying to take credit for.
Regards,

Todd Pettingill, CFA CPA

Ligand Pharmaceuticals, Inc.

11119 North Torrey Pines Road Suite 200
La Jolla, CA 92037

Office: (858) 550-7763

Cell: (801) 360-3997

Confidential Confidential Treatment Requested by Ligand Pharmaceuticals, Inc. LGND_0041211
Case 1:18-cv-11926-PBS Document 46-14 Filed 01/07/20 Page 2 of 3

Fax: (858) 550-5639

From: Dourado, Glenn S.

Sent: Friday, August 22, 2014 1:19 PM

To: Pettingill, Todd; Vajda, Eric

Subject: RE: LGND: Ligand Pharmaceuticals: Institutional Holders Wasting No Time Dumping Stock In
Response To Mounting Insolvency And Bankruptcy Risks

Unfortunately, he’s winning because the stock keeps going down. He needs to be silenced for good. I’m not
saying anything specific (for fear it could be misconstrued) but this is a total farce.

From: Pettingill, Todd

Sent: Friday, August 22, 2014 1:17 PM

To: Vajda, Eric

Cc: Dourado, Glenn S.

Subject: RE: LGND: Ligand Pharmaceuticals: Institutional Holders Wasting No Time Dumping Stock In
Response To Mounting Insolvency And Bankruptcy Risks

Yeah, I saw that. What a DB. He’s a Monday morning quarterback, jumping in after things have already
happened, and using the facts to tell a completely different story. He should work for Fox news...

Regards,

Todd Pettingill, CFA CPA

Ligand Pharmaceuticals, Inc.

11119 North Torrey Pines Road Suite 200
La Jolla, CA 92037

Office: (858) 550-7763

Cell: (801) 360-3997

Fax: (858) 550-5639

From: Vajda, Eric

Sent: Friday, August 22, 2014 1:16 PM

To: Marschke, Keith; Zhi, Lin; Pettingill, Todd; Dourado, Glenn S.

Subject: FW: LGND: Ligand Pharmaceuticals: Institutional Holders Wasting No Time Dumping Stock In
Response To Mounting Insolvency And Bankruptcy Risks

FYI - Lemelson is still after Ligand.

From: dyn__2800@seekingalpha.com<mailto:dyn__2800@seekingalpha.com>

[mailto:dyn__ 2800@seekingalpha.com] On Behalf Of Seeking Alpha

Sent: Friday, August 22, 2014 12:15 PM

To: Vajda, Eric

Subject: LGND: Ligand Pharmaceuticals: Institutional Holders Wasting No Time Dumping Stock In Response
To Mounting Insolvency And Bankruptcy Risks

Ligand Pharmaceuticals: Institutional Holders Wasting No Time Dumping Stock In Response To Mounting

Confidential Confidential Treatment Requested by Ligand Pharmaceuticals, Inc. LGND_0041212
Case 1:18-cv-11926-PBS Document 46-14 Filed 01/07/20 Page 3 of 3

Insolvency And Bankruptcy Risks by Amvona
This article was published on Fri, Aug. 22, 3:15 PM ET

Read the full article now
»<http://email.seekingalpha.com:80/track?type=click&mailingid=2445395&messageid=2800&databaseid=& se
rial=2800024453950 140873491 1 .fe8d00ed5ecacc32e63 1¢1077b9e7793 &emailid=evajda%40ligand.com&use
rid=15608342&extra=&&&3000&& &http://seekingalpha.com/article/2445395-ligand-pharmaceuticals-
institutional-holders-wasting-no-time-dumping-stock-in-response-to-mounting-insolvency-and-bankruptcy-
risks?source=email_rt_article readmore&uprof=45>

Why are you receiving this? You subscribed to real-time article alerts at Seeking Alpha.

If this email was forwarded to you and you wish to receive this email directly, click
here<http://email.seekingalpha.com:80/track?type=click& mailingid=24453 95&messageid=2800& databaseid=
&serial=2800024453950 14087349 1 1 .fc8d00edSecacc32e63 1c1077b9e7793 & emailid=evajda%40ligand.com
&userid=15608342&extra=&&& 3 000k &&http://seekingal pha.com/real-time-

alerts?source=email_ rt article sub legal>.

Manage your emails:

Get alerts on additional tickers and manage all your email alert choices
here<http://email.seekingalpha.com:80/track?type=click&mailingid=2445395&messageid=2800&databaseid=
&serial=2800024453950 14087349 1 | .fc8d00edSecacce32e63 1¢1077b9e7793 &emailid=evajda%40ligand.com
&userid=15608342&extra=&&&3000&&Khttp://seekingalpha.com/email_preferences?reason_id=32&source=
email_rt_article_manage_legal>

I’m getting too many emails: manage your email alert
choices<http://email.seekingalpha.com:80/track?type=click&mailingid=2445395&messageid=2800& databasei
d=&serial=2800024453950 140873491 1 .fc8d00edSecacc32e63 1¢1077b9e7793 &emailid=evajda%40ligand.co
m&userid=15608342&extra=&&&3000&& &hittp://seekingalpha.com/email_preferences?reason_id=12&sourc
e=email_rt_article_reduce_legal>

I’m no longer following LGND:
unsubscribe<http://email.seekingalpha.com:80/track?type=click&mailingid=2445395&messageid=2800&datab
aseid=& serial=2800024453950 14087349 1 1.fc8d00edSecacc32e63 1¢1077b9e7793 &emailid=evajda%40ligand
com&userid=15608342&extra=&& &3000&& &hittp://seekingalpha.com/email_preferences?unrta=ar,mc&sym
bol=lgnd&reason_id=22&user_email=evajda%40ligand.com& go=638d5cobf40d7bf8a7dd849287071012d3511
6&source=email_rt_article_unsub_legal> from all LGND email alerts

This type of alert isn't helpful to me:
unsubscribe<http://email.seekingalpha.com:80/track?type=click&mailingid=2445395&messageid=2800&datab
aseid=& serial=2800024453950 140873491 1.fc8d00edSecacc32e63 1¢1077b9e7793 & emailid=evajda%40ligand
com&userid=15608342&extra=k&&&3000&& &http://seekingalpha.com/email_preferences?unrta=ar&symbol
=lgnd&reason_id=2&user_email=evajda%o40ligand.com&go=638d5cobf40d7bf8a7dd84928707 1012d35116&s
ource=email rt article unsub_ article legal> from article alerts on LGND

To ensure you receive these emails in the future, please add
account@seekingalpha.com<mailto:account@seekingalpha.com> to your address book, contacts or list of safe

senders.

Sent by Seeking Alpha, 52 Vanderbilt Avenue, 13th floor, New York, NY 10017

Confidential Confidential Treatment Requested by Ligand Pharmaceuticals, Inc. LGND_0041213
